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                         LINITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA                   zt-tav N€l3l UK
LINITED STATES OF AMERICA,               )    Il\DICTMENT
                                         )
                     Plaintiff,          )
                                         )
       v.                                )    18   U.S.C. $ 2
                                         )    18   U.S.C. $ 1028A.
(1) OLUMIDE OBIDARE,                     )    18   U.S.C. $ 1343
a/</a REMY ADAMSON,                      )    18   U.S.C. $ 1349
a/r/a MICIIEAL BRYAN,                    )
alUaM.H.,                                )
a/k/a REMY JENSON,                       )
a/</a JADEN MICIDL,                      )
a/HaMATTEW MIIIEL,                       )
a/r/a ISRIAELI MIKEL,                    )
alWa ALLEN PETERSON,                     )
a/k/a DANIEL THOMPSON,                   )
a/r/a DON WILLIAMS,                      )
                                         )
(2) STEPFIEN OSEGHALE,                   )
a/k/a LARRY ADISA,                        )
a/</a STEVEN BOYEGA,                      I

a/</a ERIC ADE DAVIDSON,                  )
a/</a MICIIAEL DAVIDSON,                  )
a/k/a PERRY LAWAL,                        )
a/WaTOBY WILLIAMS,                        )
                                          )
                     Defendants.          )

       THE UNITED STATES GRAND JURY CHARGES TIIAT:

                                     INTRODUCTION

       At times relevant to the Indictment:

        1.    Defendant OLUMIDE OBIDARE was a Nigerian national residing in

Maryland, Illinois, and elsewhere.

       2.     Defendant STEPHEN OSEGHALE was a                        national residing in

 Connecticut, Georgia, Maryland, New York, Texas, and elsewhere.             SCATdNJHD

                                                                             APR ?    g   2O?1
                                                                                       w5
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        3.       C.H., C.F., J.H., J.O., M.H., S.H., V.A., and 2.N., were real people whose

identities are known to the grand jury.

        4.       Beginning in and around 2016 and continuing rurtil at least in and around

November 2019, defendants OBIDARE and OSEGHALE, and others known and

unknown to the gand jury, devised and engaged in a scheme and conspiracy to defraud

individuals and businesses in the District of Minnesota and elsewhere. In furtherance of

the conspiracy, conspirators including OBIDARE and OSEGHALE usedthe Internet and

email communications in interstate and foreign commerce.

        5.       It was in furtherance of the conspiracy       that defendants OBIDARE and

OSEGHALE obtained false identification documents, including foreign passports and

driver's licenses, for false and fictitious identities. Using these false identification

documents, defendants OBIDARE and OSEGHALE opened bank accounts at multiple

U.S. financial institutions.         It   was part of the conspiracy that defendants OBIDARE,

OSEGHALE and others known and unknown to the grand jury directed proceeds from

fraud to these accounts in false identities under their control.

Business Email Compromises

        6.       In   furtherance     of the conspiracy and scheme to defraud,   coconspirators

contacted businesses located in the United States, using the Internet and email, to pose

falsely and fraudulently as vendors seeking payment for services. Conspirators posing        as


vendors then directed the business victims to make payments to various bank accounts in

the United States through wire transfers and Automated Clearing House (ACID deposits

to which they were not entitled.
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        7.       Among the methods used in furtherance of the conspiracy and scheme to

defraud was sending false and fraudulent "phishing" emails to unwitting recipients. The

emails misled the recipients into revealing sensitive information such as account names,

personally identifiable information       (PIf,   and financial   information. With this information,

participants in the scheme obtained access to victim funds that they diverted to their

personal use and that of their coconspirators.

Romance Scams

        8.        It was also in furtherance of the conspiracy that defendant OBIDARE and

others known and unknown to the grand              jury would use fictitious identities and stolen

identity information of real people to contact individual victims, in the District of

Minnesota and elsewhere, using email, social medi4 online dating applications, and other

Internet-based methods           of communication. Coconspirators then            pursued false and

fraudulent romantic relationships online with the individual victims, whom they persuaded

to send funds for a variety of purposes, including to pay for purported legal fees and other

costs related to travel" business. and claims of inheritance.

        9.       Coconspirators directed these individual victims to transfer those proceeds

to various bank accounts belonging to coconspirators, including accounts controlled by

defendants OBIDARE and OSEGHALE and others known and unknown to the grand

jury. In fact, no such travel occurred or business or inheritance         existed, and the money that

victims sent was diverted to coconspirators.

                                              COUNT       1
                      (Conspiracy to Commit Wire Fraud, 18 U.S.C. $ 1349)

         10.     Beginning no later than in and around 2016, and continuing until at least
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November 2A19. in the State and District of Minnesota and elsewhere" the defendants.

                                           OLUMIDE OBTDARE,
                                          aMa REMY ADAMSON,
                                          aMa MICffiAL BRYAII,
                                                aMa M.H.,
                                           alWa REMY JENSON,
                                        rMa JADEN MICrn'q
                                       aMa MATTEW MIHEL,
                                       aMa ISRIAELI MIKEL'
                                      aMa ALLEN PETERSON,
                                     tMa DANEL THOMPSON,
                                       aMr DON WILLIAMS.

                                                  and

                                          STEPMN OSEGHALE,
                                           aMa LARRY ADISA,
                                      aMr STEVEN BOYEGA,
                                     aMa ERIC ADE DAVIDSON,
                                     aMa MICHAEL DAVIDSON,
                                        aMa PERRY LAWAL,
                                       aMa TOBY WILLIAMS,

with others known and unknown to the grand jury, did knowingly and willfully combine,

conspire, and agree with each other and others known and unknown to the grand jury to

commit an offense against the United States, that is, wire fraud in violation of Title 18,

United States Code. Section 1343.

                                 Manner and Means of the Conspiracy

         1   1.   The conspiracy included the manner and means described in in paragraphs        1



through 9 of this Indictment, which are realleged and incorporated here.

        Business Email Comgomise: Victim Businesses 1 and 2

         72.      One ofthe victims of phishing was Victim Business 1, an industrial adhesives

company based in Saint Paul, Minnesota. Victim Business          1   routinely purchased materials
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from Victim Business 2, which was based in Chesapeake, Virginia. Between on or about

October    4   and October 5, 2017, Victim Business 1 received emails containing what

appeared to be instructions from           Victim Business 2 to wire funds for outstanding invoices

to a specific account at First            Tennessee   Bank. In fact, the emails were sent from a

compromised email account belonging to a phishing victim employee of Victim Business

2, andthe First Tennessee Bank account was in the name of V.A., who was not affiliated

with Victim Business 2.

         13.     In a series of nine wire transfers between on or about October 13,2017, and

November 8,2017, Victim Business 1 sent approximately $837,988.91 in funds believing

the funds were destined forVictim Business 2topay for services. Victim Business 2never

received the funds. Instead, the proceeds of the fraud were deposited in accounts in under

the control of V.A. and defendant OBIDARE, using the false identity "Remy Jenson,"

among others.

        Business Email Compromise: Victim Business 3

         14.     Another victim of phishing was Victim Business 3,           ffi aerospace business
located in California. In and around November 2019, the victim business received email

communications purporting to be from a known supplier requesting payment. On or about

November 4,20l9,Victim Business 3 sent a wire transfer of approximately $27,088 meant

to pay for services to the supplier, but in fact the funds went to an account in the name of

a fictitious business under the control of defendant OBIDARE using the false identity
o'Mattew
           Mihel."
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        Romance Scam Victims: Individual Victims

         15.     One of the victims of a romance scam was J.H., a resident of Texas. From

at least in and around 2016 until in and around June 2018, J.H. believed himself to be in a

romantic relationship with "Laurie Curtis," and provided furancial support to "Curtis" and

her associates to assist in settling her deceased father's estate. J.H. sent at least $250,000

intended for and at the direction of "Curtis," as a result. These included approximately

nine deposits of approximately $151,600 that J.H. made between on or about April 10,

2017 , and on or about February           27,2018, to accounts controlled by defendant OBIDARE,

using the false identities "Remy Adamson," "Isriaeli Mikel," and "Allen Peterson."

         16.     Another victim of a romance scnm was C.F.. a resident of Texas. From at

least in and around January 2018 until in and around March 2018, C.F. believed she was

in a romantic relationship with "David Palmer," who claimed to be a building contractor

in Ireland and requested that C.F. send money to help him pay his employees before he

could leave keland forthe United States andmarry C.F. C.F. sent approximately $160,000

in funds intended for "David Palmer" and his employees, $87,600 of which went to

accounts controlled by defendant OBIDARE, using the false identities "Isriaeli Mikel"

and "Allen Peterson," and $40,000 of which went to an account controlled by defendant

OSEGHALE, using the false identity "Eric Davidson."

         17.      Another romance scam victim, J.O., a resident of Kansas, believed she was

in a romantic relationship with "Donald Hudhes," from in and around May 2017 until in

and around September 2018. "Hudhes" requested financial assistance from J.O. to permit

him to complete his work abroad and travel to the United States to marry J.O. J.O. sent
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approximately $29,000 in funds intended to help "Hudhes," which in fact were sent to

accounts under the control          of and for the benefit of conspirators, including   defendants

OBIDARB and OSEGHALE, the latter using the false identity "Steven Boyega."

        A11   in violation of Title 18, United States Code, Section 1349.

                                             COUNTS 2.6
                                     (Wire Fraud, 18 U.S.C. $ 1343)

         18. Beginning in and around 2016 and continuing until at least in and around
November 2AI9, the defendants,

                                         OLUMIDE OBTDARE,
                                       aMa REMY ADAMSON'
                                       aMa MICHT'.AL BRYAII,
                                              aMa M.H.,
                                         aMa REMY JENSON,
                                         aMa JADEN MICITF'.6
                                        aMa MATTEW MHEL,
                                        aMA ISRIAELI MIKEL,
                                       aMa ALLEN PETERSON'
                                      aMa DANIEL THOMPSON'
                                         aMa DON WILLIAMS"

                                                  and

                                       STEPHEN OSEGHALE,
                                        aMa LARRY ADTSA'
                                      AMA STEVEN BOYEGA,
                                     aMa ERIC ADE DAVIDSON'
                                     nMa MICHAEL DAVIDSON,
                                        aMa PERRY LAWAL,
                                       aMa TOBY WILLIAMS,

did knowingly and unlawfully devise and intend to devise a scheme to defraud victim

businesses and individual victims, and to obtain money and properly from them by means

of materially false and fraudulent pretenses,           representations, promises, and material

omissions.
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                                              Manner and Means

         D.      The scheme included the manner and means described in in paragraphs          1




through 17 of this Indictment, which are realleged and incorporated here.

         20.     For the pu{pose of executing and attempting to execute the above-described

scheme and anifice to defraud, the defendants transmitted and cause to be transmitted

writings, signs, signals, pictures, and sounds by means of wire communication in interstate

and foreign commerce, as set forth in the table below, each transmission constituting a

separate count:

                            DATE
                            (in and
        COUNT                             VICTIM                      COMMUNICATION
                          around/on                     DEFEi\DAi\T
                           or about)
                                                                      A purchase ofa
                                                                      MoneyGram money
                                                                      order ending in -
                                                                      5892141   of
                                                                      approximately $900
                           October        Business                    by defendant
                           24,2017        1            OBIDARE        OBIDARE, using
                                                                      funds from an account
                                                                      in the name of "Remy
                                                                      Jenson," paid to the
                                                                      order of Z.N.

                                                                      A purchase ofa
                                                                      MoneyGram money
                                                                      order ending in -
                                                                      3e63[9] of
                                                                      approximately $900
                           February                                   by defendant
                                          C.H.
                           9,2017                      OBIDARE        OBIDARE, using
                                                                      funds from an account
                                                                      in the name of "Isriaeli
                                                                      Mikel," paid to the
                                                                      order of Z.N.
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                                                                      A purchase ofa
                                                                      MoneyGram money
                                                                      order ending in -
                                                  OSEGIIALE           3677181    of
                                                                      approximately $900
                         November                                     by defendant
               4                         J.O.
                         10,2017                                      OSEGIIALE, using
                                                                      f,nds from an account
                                                                      in the name of "Steven
                                                                      Boyeg4" paid to the
                                                                      order of Oseghale
                                                                      Stephen.
                                                                      A purchase ofa
                                                                      MoneyGram money
                                                                      order ending in -
                                                                      06s4[6] of
                                                                      approximately $900
                          November                OSEGHALE            by defendant
                                         J.O.
                          30,2017                                     OSEGFIALE, using
                                                                      funds from an account
                                                                      in the name of "Steven
                                                                      Boyeg4" paid to the
                                                                      order of Oseghale
                                                                      Steohen.
                                                                      A purchase ofa
                                                                      MoneyGram money
                                                                      order ending in -
                                                                      623|12l of
                                                                      approximately $900
                          December                 OBIDARE,           by defendant
                                         J.O.
                          1,2017                   OSEGHALE           OSEGHALE, using
                                                                      funds from an account
                                                                      in the name of "Steven
                                                                      Boyega," paid to the
                                                                      order of Oseghale
                                                                       Stephen.

         A11   in violation of Title 18, United States Code, Section 1343-

                                          COUNTS 7.13
                           (Aggravated Identity Theft, I 8 U.S.C. $ 10284)

         2t.       The allegations in paragraphs 1 through 20 of this Indictment are realleged
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and incorporated here.

        22.      On or about the dates below, in the State and District of Minnesota and

elsewhere, the defendants,

                                         OLUMIDE OBIDARE,
                                       aMa REMY ADAMSON,
                                       aMa MICffiAL BRYAII,
                                              aMa M.H.,
                                         aMa REMY JENSON,
                                         aMa JADEN MICTIF''!
                                        aMa MATTEW MIHEL'
                                        aMa ISRIAELI MIKEL,
                                       aMa ALLEN PETERSON'
                                      aMa DAILTEL THOMPSON,
                                         aMa DON WILLIAMS"

                                                   and

                                          STEPHT',N OSEGHALE,
                                         aMa LARRY ADISA'
                                      aMa STEVEN BOYEGA,
                                     aMa ERIC ADE DAVIDSON,
                                     aMa MICHAEL DAVIDSON'
                                        aMa PERRY LAWAL,
                                       a/k/a TOBY WILLIAMS,

aiding and abetting each other and others known and unknown to the grand jury, did

knowingly transfer, possess, and use, without lawful authority,       a means   of identification   of

another person during and             in relation to a felony violation   enumerated   in   18 U.S.C.


g 1028A(c), namely conspiracy to commit wire fraud, in violation of Title 18, United States

Code, Section t349, knowing that the means of identification belonged to another actual




                                                    10
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person, as set forth in the table below:

                                               DATE
                                               (on or
                                                                             MEANS OF
       COUNT              DEFEi\DAI\T         abouto in     VICTIM
                                                                          IDENTIFICATION
                                                 and
                                               around)
                                                                         Name, Social Security
                             OBIDARE          June 2016       M.H.             number


             8               OBIDARE          Mav 2017        M.H.                Name
                                                IuIy 7,                           Name
             9               OBIDARE                          M.H.
                                                 20t7
                                                                           Name, bank account
                                                August
             10              OBIDARB                           S.H.             number
                                               23,2017

                                              November                     Name, bank account
             11              OBIDARE                           S.H.
                                                                                number
                                               21,2017
                             OBIDARE                                      Name, ci|y, state, zip
                                              December
             t2                   and
                                                I,2077
                                                               J.O.
                                                                                   code
                           OSEGHALE
                            OBIDARB                                          Name, account
                                              December
             13                   and                          S.H.
                                               13,2017                          number
                           OSEGHALE

A11   in violation of Title 18, United States Code, Sections 1028A(a)(1) md2.

                                   FORT'EITURE ALLE GATIONS

         23.      Counts    1   through 6 of this Indictment are incorporated by reference for the

purpose     of alleging      forfeitures pursuant    to Title 18, United States Code, Section
981(a)(1)(C) and Title 28, United States Code, Section 2a6t@).

         24.      Upon conviction of the offenses alleged in Counts 1 through 6 of this

Indictment, the defendant shall forfeit to the United States pursuant to Title 18, United

States Code, Section 981(a)(1)(C), and          Tit\e28, United States Code, Section 2461(c), arry

property, real or personal, which constitutes or is derived from proceeds traceable to the

                                                    11
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offenses.

         25. If       any of the above-described forfeitable property is unavailable for

forfeiture, the United States intends to seek the forfeiture of substitute property   as   provided

for in Title 21, United States Code, Section 8530), as incorporated by Title 28, United

States Code, Section 2461(c).

                                          A TRI'E BILL



ACTING I-INITED STATES                ATTORNEY       FOREPERSON




                                                t2
